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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK

x
SHORELINE AVIATION, INC. : Case No. 2:20-cv-02161-JMA-SIL
Plaintiff,
: DECLARATION OF RYAN A.
Vv. : PILLA
SOUND AIRCRAFT FLIGHT ENTERPRISE, INC.
et. al.
Defendants.
x

RYAN A. PILLA, pursuant to 28 U.S.C. § 1746, declare as follows:

1. Iam over 18 years of age, of sound mind, and otherwise competent to make this
Declaration. I am a defendant in this action. The foregoing Declaration is based on my personal
knowledge. I am submitting this declaration in connection with defendants Sound Aircraft Flight
Enterprise, Inc., Cynthia L. Herbst, and Ryan A. Pilla (the “Herbst Defendants”) motion for
summary judgment.

1. Ihave been dating defendant Cynthia L. Herbst for over six years.

2. During the time that I have been dating Ms. Herbst, I was not involved in the operations of
her businesses whatsoever.

3. I have never accessed or received her intellectual property or proprietary business
information, nor have I accessed or received the information related to the customers that she
services.

4. I have never transferred to any party, Ms. Herbst’s businesses’ intellectual property

customer information, or other proprietary business information.
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5. I also never have accessed or received the intellectual property, customer information, or
other proprietary business information of the entities that Ms. Herbst does business with, including
Shoreline Aviation, Inc (“Shoreline”).

6. I have never transferred to any party, Shoreline’s intellectual property customer
information, or other proprietary business information

7. In fact, I have no relationship or contracts with Shoreline whatsoever, and I have never
agreed to keep information confidential on its behalf.

8. When Ms. Herbst executed a business deal with Blade Air Mobility, Inc. (““Blade’”’), Blade
mistakenly copied me on correspondence and had mistakenly listed me as a principal of Sound
Aircraft Flight Enterprises (“SAFE”) on certain documents, They had also surprisingly asked me
to sign a non-compete even though I am not a principal of SAFE.

9. I did not sign any agreement with Blade because I have no interest or involvement with
Ms. Herbst’s business ventures.

10. I did not receive any consideration from Ms. Herbst’s deal with Blade.

I declare under penalty of perjury under the laws of the United States of America that the

foregoing is true and correct to the best of my personal knowledge.

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Dated: June 16, 2023

